                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - DETROIT

In re:                                                         Case No. 11-45569-MBM
         Dianne Butler

                     Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        David Wm. Ruskin, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 03/02/2011.

         2) The plan was confirmed on 06/02/2011.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
07/14/2014.

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
03/18/2014, 12/09/2015.

         5) The case was dismissed on 01/05/2016.

         6) Number of months from filing to last payment: 52.

         7) Number of months case was pending: 60.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $3,785.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .



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Receipts:

           Total paid by or on behalf of the debtor               $14,764.34
           Less amount refunded to debtor                              $0.00

NET RECEIPTS:                                                                                    $14,764.34


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                   $3,884.00
    Court Costs                                                                 $0.00
    Trustee Expenses & Compensation                                           $812.41
    Other                                                                       $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $4,696.41

Attorney fees paid and disclosed by debtor:                       $26.00


Scheduled Creditors:
Creditor                                          Claim          Claim          Claim      Principal     Int.
Name                                  Class     Scheduled       Asserted       Allowed       Paid        Paid
ASSET ACCEPT ANCE CORP            Unsecured           0.00         761.93         761.93         0.00       0.00
CAVALRY PORT FOLIO SERVICES LL    Unsecured            NA          754.74         754.74         0.00       0.00
CREDIT ACCEPT ANCE CORP           Unsecured            NA       12,601.43      12,601.43         0.00       0.00
DIST RICT DIRECT OR IRS           Unsecured           0.00            NA             NA          0.00       0.00
DT E ENERGY (DET ROIT EDISON/M    Unsecured       8,000.00      12,912.57      12,912.57         0.00       0.00
DT E ENERGY CUST OMER SERVICE     Unsecured           0.00            NA             NA          0.00       0.00
INT ERNAL REVENUE SERVICE         Priority            0.00         100.00         100.00         0.00       0.00
INT ERNAL REVENUE SERVICE         Unsecured         600.00       1,607.38       1,607.38         0.00       0.00
KILPAT RICK & ASSOCIAT ES P C     Unsecured           0.00            NA             NA          0.00       0.00
PALISADES ACQUISIT ION XVI LLC    Unsecured            NA        1,681.08       1,681.08         0.00       0.00
RJM ACQUISIT IONS LLC             Unsecured            NA          463.75         463.75         0.00       0.00
URBAN DEVELOPMENT SOLUT ION       Secured             0.00           0.00           0.00         0.00       0.00
US AT T ORNEY (IRS)               Unsecured           0.00            NA             NA          0.00       0.00
VANDA LLC                         Unsecured            NA          412.81         412.81         0.00       0.00
WAYNE COUNT Y T REASURER          Unsecured           0.00            NA             NA          0.00       0.00
WAYNE COUNT Y T REASURER          Secured         1,500.00       1,500.00       1,500.00       386.56     652.96
WAYNE COUNT Y T REASURER          Secured         3,935.92       3,935.72       3,935.72     1,013.87   1,713.52
WAYNE COUNT Y T REASURER          Secured         7,692.67       7,692.67       7,692.67       996.05   5,249.69
WAYNE COUNT Y T REASURER          Secured              NA        6,381.69       6,381.69         0.00      55.28




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 Summary of Disbursements to Creditors:
                                                                 Claim          Principal           Interest
                                                              Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00              $0.00
       Mortgage Arrearage                                      $0.00              $0.00              $0.00
       Debt Secured by Vehicle                                 $0.00              $0.00              $0.00
       All Other Secured                                  $19,510.08          $2,396.48          $7,671.45
 TOTAL SECURED:                                           $19,510.08          $2,396.48          $7,671.45

 Priority Unsecured Payments:
         Domestic Support Arrearage                             $0.00              $0.00              $0.00
         Domestic Support Ongoing                               $0.00              $0.00              $0.00
         All Other Priority                                   $100.00              $0.00              $0.00
 TOTAL PRIORITY:                                              $100.00              $0.00              $0.00

 GENERAL UNSECURED PAYMENTS:                              $31,195.69               $0.00              $0.00

Disbursements:

         Expenses of Administration                              $4,696.41
         Disbursements to Creditors                             $10,067.93

TOTAL DISBURSEMENTS :                                                                        $14,764.34


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 02/25/2016
                                               By: /s/ David Wm. Ruskin
                                                                       Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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